 4:06-cr-03128-WKU-DLP   Doc # 26   Filed: 10/26/06   Page 1 of 1 - Page ID # 35



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3128
           v.                        )
                                     )
KATIE L. BOYSEN and                  )
ALICIA M. OLSEN,                     )                   ORDER
                                     )
                Defendants.          )
                                     )



     Upon the reassignment of this case to United States Senior
District Judge Warren K. Urbom,

     IT IS ORDERED:

     1. Trial is set for December 18, 2006 at 9:00 a.m. for a
duration of three trial days before the Honorable Warren K. Urbom
in Courtroom 4, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Jury selection
will be held at commencement of trial.

     2. All other provisions of the court’s earlier progression
orders remain in effect.


     DATED this 26th day of October, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
